
Upon consideration of the Joint Petition filed herein pursuant to Maryland Rule 19-736, it is this 27th day of September, 2016,
ORDERED, that Respondent, Sanford Bruce Jaffe, be and he is hereby indefinitely suspended from the practice of law in the State of Maryland for a violation of Rule 8.4(d) of the Maryland Lawyers' Rules of Professional Conduct; and it is further
ORDERED, that the Clerk of this Court shall remove the name of Sanford Bruce Jaffe from the register of attorneys in the Court and certify that fact to the Client Protection Fund of the Bar of Maryland and all Clerks of all judicial tribunals in this State in accordance with Maryland Rule 19-742(a) and issue notice of such action in accordance with Maryland Rule 19-761(b).
